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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 FT. WORTH DIVISION

 KEVIN BATES,                                     §
   Plaintiff/Counter-Defendant,                   §
                                                  §
 v.                                               §
                                                  §       Civil Action No. 4:19-cv-65-O
                                                  §
 U.S. BANK NATIONAL ASSOCIATION,                  §
 AS TRUSTEE, SUCCESSOR IN                         §
 INTEREST TO BANK OF AMERICA,                     §
 NATIONAL ASSOCIATION, AS                         §
 TRUSTEE, SUCCESSOR BY MERGER                     §
 TO LASALLE BANK NATIONAL                         §
 ASSOCIATION, AS TRUSTEE, FOR                     §
 RESIDENTIAL ASSET MORTGAGE                       §
 PRODUCTS, INC., MORTGAGE ASSET-                  §
 BACKED PASS-THROUGH                              §
 CERTIFICATES, SERIES 2007-RP1; AND               §
 OCWEN LOAN SERVICING, LLC; any to                §
 act as Substitute Trustee(s)                     §
     Defendants/Counter-Plaintiffs/Third-         §
     Party Plaintiffs                             §
                                                  §
 v.                                               §
                                                  §
 REGINA BATES                                     §
   Third-Party Defendant                          §

         ORIGINAL COUNTERCLAIM AND THIRD-PARTY COMPLAINT OF
          DEFENDANTS/COUNTER-PLAINTIFFS U.S. BANK, AS TRUSTEE
                    AND OCWEN LOAN SERVICING, LLC

        Defendants/Counter-Plaintiffs/Third-Party Plaintiffs U.S. Bank National Association, as

Trustee, successor in interest to Bank of America, National Association, as Trustee, successor by

merger to LaSalle Bank National Association, as Trustee, for Residential Asset Mortgage

Products, INC., Mortgage Asset-Backed Pass-Through Certificates, Series 2007-RP1 (“U.S.

Bank”) and Ocwen Loan Servicing LLC (“Ocwen” and together with U.S. Bank, “Counter-

Plaintiffs”) file this their Original Counterclaim and Third-Party Complaint against


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Plaintiff/Counter-Defendant Kevin Bates and Third-Party Defendant Regina Bates and

respectfully show as follows:

                                     A.     BACKGROUND

        1.      Kevin Bates filed this action on December 31, 2018, in the 48th Judicial District

Court for Tarrant County, Texas, Cause No. 048-305277-18, in the matter styled Kevin Bates v.

U.S. Bank National Association, as Trustee, Successor in Interest to Bank of America, National

Association, as Trustee, Successor by Merger to LaSalle Bank National Association, as Trustee,

for Residential Asset Mortgage Products, Inc., Mortgage Asset-Backed Pass-Through Certificates,

Series 2007-RP1; Ocwen Loan Servicing, LLC; any to act as Substitute Trustees. (ECF Docket

No. 1 at exhibit B-1.)

        2.      Counter-Plaintiffs properly removed the State Court Action to this Court on

January 18, 2019. (ECF Docket No. 1.)

                            B.      PARTIES AND JURISDICTION

        3.      U.S. Bank and Ocwen are the Defendants, Counter-Plaintiffs and Third-Party

Plaintiffs in this cause.

        4.      Plaintiff/Counter-Defendant Kevin Bates and Third-Party Defendant Regina Bates

are borrowers and mortgagors who executed the Loan Agreement at issue in this case. Kevin Bates

has previously appeared in this cause and may be served through his counsel of record in this case.

Upon information and belief, Regina Bates is a citizen and resident of Texas, currently residing at

1012 South Hollow Drive, Southlake, TX 76092. Summons is requested.

        5.      There is diversity jurisdiction in this Court because there is complete diversity of

citizenship between Plaintiff/Counter-Defendant Kevin Bates, Third-Party Defendant Regina




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Bates and Counter-Plaintiffs, and more than $75,000.00 is in controversy in this cause, exclusive

of interest and costs, as further detailed in the Notice of Removal. 28 U.S.C. § 1332.

                                  C.      SUMMARY OF FACTS

       6.         The foregoing paragraphs are incorporated by reference for all purposes.

       7.         On or about October 25, 2000, Kevin bates executed a Texas home equity adjustable

rate note (“note”) in the original principal amount of $310,400.00 payable to Alpha Mortgage USA,

Inc. (“Alpha”).

       8.         On that same day, to secure payment of the Note, Kevin Bates and his wife Regina

Bates (the “Bates”) executed a Texas Home Equity Security Instrument (“Security Instrument” and

together with the Note, the “Loan Agreement”) in favor of Alpha, whereby they granted Alpha a

security interest in the real property commonly known as 1012 South Hollow Drive, Southlake,

TX 76092, and more particularly described as:

                  LOT 11, BLOCK 1, OF SOUTH HOLLOW, PHASE 1, AN ADDITION
                  TO THE CITY OF SOUTHLAKE, TARRANT COUNTY, TEXAS,
                  ACCORDING TO THE PLAT THEREOF RECORDED IN CABINET A,
                  PAGE 3091, OF THE PLAT RECORDS OF TARRANT COUNTY,
                  TEXAS

(the “Property”). The Security Instrument was recorded on November 10, 2000 under Instrument

Number D200255850 in the Official Public Records of Tarrant County, Texas.

       9.         The Security Instrument has been assigned to U.S. Bank through a series of

assignments that have been recorded in the Official Public Records of Tarrant County, Texas. U.S.

Bank is the current owner and holder of the Note and beneficiary of the Security Instrument.

Ocwen services the Loan Agreement for U.S. Bank.

       10.        The Loan Agreement provides that should the Bates fail to make payments on the

Note as they became due and payable, or should Bates fail to comply with any or all of the

covenants and conditions of the Security Instrument, then the lender may enforce the Loan

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Agreement by selling the Property pursuant to applicable law and in accordance with the

provisions set out therein.

          11.   On or about April 22, 2015, U.S. Bank filed an Application for an Expedited Order

Under Rule 736 on a Home Equity Loan in the 67th District Court of Tarrant County, Texas under

Cause No. 067-278056-15.

          12.   Before a foreclosure sale could be conducted, the Bates filed an Original Petition

in the 67th District Court of Tarrant County, Texas under Cause No. 067-278056-15 that challenged

U.S. Bank’s right to foreclose.

          13.   U.S. Bank removed Cause No. 067-278056-15 to the U.S. District Court for the

Northern District of Texas where it was given Case Number 4:16-cv-00173-Y.

          14.   The parties then entered into a Confidential Settlement Agreement and Release (the

“Settlement Agreement”) whereby the Bates agreed to submit a discounted payoff to satisfy the

loan before December 31, 2016. The Agreement also stated that if the Bates fail to deliver the

discounted payoff that they agreed “that they will not take any action to stop, delay, or prevent

Ocwen’s foreclosure of the Property or possession of the Property thereafter.” [emphasis

added].

          15.   The Bates failed to timely submit the payoff amount.

          16.   A Notice of Default and Intent to Accelerate (“Notice of Default”) was originally

sent to the Bates on or about November 25, 2014, via U.S.P.S. certified mail to the Property address

of 1012 South Hollow Drive, Southlake, Texas 76092. Copies of the Notice of Default were also

sent to the Bates’ attorney of record, Michael Binkley, Esq., at PO Box 820711, Fort Worth, Texas

76182.

          17.   The default has not been cured.



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               D.      CAUSE OF ACTION—DECLARATORY JUDGMENT

       18.      The foregoing paragraphs are incorporated by reference for all purposes.

       19.     The parties to this action previously entered into a binding settlement agreement.

The Bates have failed to abide by the Settlement Agreement and are therefore in default of the

same. Accordingly, Counter-Plaintiffs are entitled to their remedies as provided in the Settlement

Agreement. Further, Plaintiff’s filing of this instant action is itself an action in violation of the

Settlement Agreement. Counter-Plaintiffs are entitled to foreclose on the Property.

       20.     The federal Declaratory Judgment Act states, "[i]n a case of actual controversy

within its jurisdiction, … any court of the United States, upon the filing of an appropriate pleading,

may declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought." 28 U.S.C. § 2201. A declaratory judgment

counterclaim is proper if it has greater ramifications than the original suit. See Albritton Props. v.

Am. Empire Surplus Lines, No. Civ. A. 3:04-CV-2531-P, 2005 U.S. Dist. LEXIS 7330, 2005 WL

975423, at *2 (N.D. Tex. Apr. 25, 2005) (citing BHP Petroleum Co. Inc. v. Millard, 800 S.W.2d

838, 842 (Tex. 1990)). Federal courts have broad discretion to grant or refuse declaratory

judgment. Torch, Inc. v. LeBlanc, 947 F.2d 193, 194 (5th Cir. 1991).

       21.     To resolve this dispute, Counter-Plaintiffs request a declaration from this Court that

the Bates have breached the Settlement Agreement and that they are therefore estopped from

preventing the foreclosure of the Property. Further, the Counter-Plaintiffs request a declaration

from this Court that they are entitled to proceed with a non-judicial foreclosure sale of the Property

as provided for in the Settlement Agreement.

       22.     All conditions precedent have been performed or have occurred.




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       WHEREFORE, PREMISES CONSIDERED, U.S. Bank and Ocwen pray the Court enter

judgment that: Plaintiff take nothing on his claims; that U.S. Bank and Ocwen have and recover

judgment against the Bates allowing them to proceed with foreclosure in accordance with the

Security Instrument, Settlement Agreement and Texas Property Code section 51.002, or judicial

foreclosure under Texas Rule of Civil Procedure 309; that U.S. Bank and Ocwen recover

attorneys’ fees on its declaratory judgment claim; U.S. Bank and Ocwen further request such other

and further relief to which they may be entitled.

                                                       Respectfully submitted,


                                                    By: /s/ Mark D. Cronenwett
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                                                    Dallas, Texas 75254
                                                    Telephone: 214-635-2650
                                                    Facsimile: 214-635-2686
                                                    Attorneys for Counter-Plaintiffs

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was sent on January
18, 2019, upon the following as indicated:

       VIA ECF:
       John Gannon Helstowski
       jgh@jghfirm.com
       J. Gannon Helstowski Law Firm
       4150 International Plaza, Suite 102
       Fort Worth, TX 76109

                                                              /s/ Mark D. Cronenwett
                                                              MARK D. CRONENWETT

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